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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division


UNITED STATES OF AMERICA


V.                                                     Criminal No. 3:06-cr-78-HEH


GARY ALAN RINEHULTS,

                    Defendant.


                             MEMORANDUM OPINION
             (Granting Defendant's Motion for Compassionate Release)

      This matter is before the Court on Gary Alan Rinehults's("Defendant") Motion

for Compassionate Release Pursuant to 18 U.S.C. § 3582(c)(1)(A)(as amended)(the

"Motion" ECF No. 39), filed on September 6, 2020. Due to his severe medical

conditions and the threat posed by the novel coronavirus("COVID-19"), Defendant seeks

to serve the remainder of his sentence on home confinement. The Government does not

oppose Defendant's Motion and agrees that it is appropriate for Defendant to serve the

remainder of his prison term on home confinement. (Gov't Resp. at 1, ECF No.42.) The

Court will dispense with oral argument because the facts and legal contentions have been

adequately presented to the Court, and oral argument would not aid in the decisional

process. See E.D. Va. Local Crim. R. 47(J). For the reasons discussed below,the Court

will grant Defendant's Motion for Compassionate Release. The remainder of

Defendant's period of confinement will be served on home confinement, to be followed

by 3 years ofsupervised release.
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        Defendant pled guilty on July 24, 2006,to receipt ofchild pornography, in

violation of 18 U.S.C. § 2252A(a)(5)(B). Thereafter,the Probation Officer completed a

Presentence Investigation Report. (ECF No.43.) The report recommended a sentence of

97 to 121 months' imprisonment, followed by 2 to 3 years ofsupervised release based

upon a Total Offense Level of28 and a Criminal History Category ofIII. {Id. at 26-28.)
On February 9,2007, Defendant appeared before this Court for sentencing. This Court

imposed a sentence of 121 months, a sentence at the high end of Defendant's guideline

range, followed by 3 years ofsupervised release. (J., ECF No. 26.) Ofthis sentence, 61

months were to be served concurrently with a 16-year sentence imposed by the Hanover

County Circuit Court, while the remaining 60 months were to be served consecutively.

{Id.)

        Defendant has completed serving his state sentence and he is currently serving the

remainder of his federal sentence at FCl Danbury located in Danbuiy, Connecticut.

Defendant is seventy-seven years old and suffers fi'om numerous serious health

conditions including hypertension, chronic lymphocytic leukemia, along with numerous

bladder and urinary issues. (Def.'s Mem.,ECF No.40 at 2.) Additionally, Defendant is

obese and has a history of kidney stones and adenoid cancer. {Id.) Several ofthese

medical conditions are not well maintained and are progressively worsening during

Defendant's time in prison, even though Defendant takes medication and undergoes

treatments to manage each ofthese ailments.

        First, Defendant's blood pressure remains high although he continues to take

medication. (Mot., Ex. 3 at 9.) His most recent clinical visit measured his blood pressure
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at 169/92, well above the normal range. {Id.) Additionally, Defendant is in continuing

treatment for his chronic lymphocytic leukemia since his diagnosis in 2008. (Mot., Ex. 3,

5-6.) This type ofleukemia originates in the white blood cells and often progresses

slowly over time. With this type ofleukemia affecting white blood cells, Defendant's

immune system is compromised. Along with his advanced age,the totality of his health

conditions demonstrate that Defendant is at a higher risk of suffering serious

complications if he were to be infected with COVID-19.

       "'A judgment of conviction that includes a sentence ofimprisonment constitutes a

fmaljudgment' and may not be modified by a district court except in limited

circumstances." Dillon v. United States, 560 U.S. 817, 824(2010)(alterations omitted)

(quoting 18 U.S.C. § 3582(b)). This Court has no inherent authority to modify a

defendant's term of imprisonment once it has become final; rather. Congress must grant

this Court the power to do so. See United States v. Goodwyn,596 F.3d 233,235 (4th Cir.

2010)(quoting United States v. Cunningham,554 F.3d 703, 708(7th Cir. 2009)).

Accordingly, this Court"'may not modify a term ofimprisonment once it has been

imposed' unless the Bureau ofPrisons moves for a reduction, the Sentencing

Commission amends the applicable Guidelines range, or another statute or Rule 35

expressly         the court to do so." Id. (quoting § 3582(c)).

       As amended by the First Step Act,§ 3582(c)(1)(A) authorizes courts to modify a

criminal defendant's sentence on grounds of compassionate release under two

circumstances. Such a request must come before the court either:(1)"upon motion ofthe

Director ofthe Bureau ofPrisons;" or(2)"upon motion ofthe defendant after the
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defendant has fully exhausted all administrative rights to appeal a failure ofthe Bureau of

Prisons to bring a motion on the defendant's behalf or the lapse of30 days from the

receipt ofsuch a request by the warden ofthe defendant's facility, whichever is

earlier." § 3582(c)(l)(A).^

        In this case, the Bureau ofPrisons has not made a motion on Defendant's behalf.

Instead, Defendant submitted his request to the Warden of FCI Danbury on May 15,

2020, which the Warden denied on May 21, 2020. (BCF No.40,Ex. 22.) Thereafter,

Defendant appealed the Warden's denial and the request was denied on June 3, 2020.

{Id.) Defendant filed his Motion,through counsel, seeking judicial relief on September 6,

2020. Thus, for this Court to adjudicate this matter, it must be the case either that

Defendant filed his Motion after exhausting his administrative remedies or that thirty

days have lapsed since Defendant submitted his request to the Warden. Defendant has

exhausted his administrative remedies and has filed the Motion more than thirty days

after the request to the Warden. Thus, Defendant's Motion is ripe for the Court's review.

        As amended by the First Step Act, § 3582(c)(I)(A)(i) permits a court to modify a

defendant's sentence when "extraordinary and compelling reasons warrant such a

reduction."^ In so doing, a court must consider the factors set forth in 18 U.S.C.


'Although outside the context of COVID-19,the Fourth Circuit has similarly suggested that
these requirements must be satisfied prior to any determination of a defendant's motion for
compassionate release on the merits. See United States v. Galloway^ No. 2:10-cr-96-2-MSD-
TEM,BCF No.434(E.D. Va. June 10,2019)(denying motion for compassionate release after
"assuming, without deciding, that Defendant [had] fully exhausted his administrative rights"),
aff'd. No. 19-6952(4th Cir. Jan. 22,2020)(unpublished).

^ The Court may also grant such a modification if it finds that the defendant is at least 70 years of
 age, has served at least 30 years in prison, pursuant to a sentence imposed under § 3559(c), for
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§ 3553(a), including the need to promote respect for the law, deter criminal conduct, and
protect the public. § 3582(c)(1)(A). The United States Sentencing Commission
("Sentencing Commission")issued guidance defining "extraordinary and compelling

reasons," of which one sufficient reason is when a "defendant is suffering from a terminal

illness ...[or] a serious physical or medical condition." U.S. Sentencing Guidelines

Manual § IB 1.13 cmt. n.l.(U.S. Sentencing Comm'n 2004);see also United States v.

Felling, _F. Supp. 3d_, No. 3:19-cr-l 12(DJN),2020 WL 1821457, at *3(E.D. Va. April

10, 2020)(relying on the Sentencing Commission's non-binding policy statements to

define "extraordinary and compelling reasons"). Consequently, a severe or terminal

medical condition can alone justify a sentence modification. See Felling, 2020 WL

1821457, at *3.

       In this case. Defendant has set forth extraordinary and compelling reasons for his

release due to his age and health conditions. As discussed above. Defendant's health

conditions are serious, and several are not well managed. Defendant's age, obesity, and

cancer diagnoses place Defendant at greater risk of serious complications from a COVID-

19 infection, and Defendant's hypertension can increase the risk of contracting serious

illness from COVID-19. Other courts have similarly granted motions for compassionate

release in light of a defendant's increased risk of severe illness from COVID-19 due to

severe underlying health conditions. See, e.g., Woodard v. United States, _F. Supp. 3d_,



the offense or offenses for which the defendant is currently imprisoned, and a determination has
been made by the Director ofthe Bureau ofPrisons that the defendant is not a danger to the
safety of any other person or the community. § 3582(c)(l)(A)(ii). However,this provision is
inapplicable here as Defendant does not appear to seek relief under this provision.
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No.2:12-cr-105, 2020 WL 3528413, at *2(E.D. Va. June 26,2020)(finding the

defendant's age of seventy-seven years and underlying heart issues arising from multiple

heart attacks extraordinary and compelling); United States v. Muniz; _F. Supp. 3d_,2020

WL 1540325, at *2(S.D. Tex. Mar. 30, 2020)(finding the defendant's underlying health

conditions—end stage renal disease, diabetes, and hypertension—created a sufficient

extraordinary and compelling reason to allow sentence modification). The Court finds

that Defendant's age, serious and declining nature ofDefendant's health conditions, and

Defendant's heightened risk of complications from COVID-19, are extraordinary and

compelling reasons sufficient to modify his sentence.

       Additionally, this Court must consider the sentencing factors as set forth under

§ 3553(a)—such as the need to promote respect for the law, deter criminal conduct, and

protect the public. Defendant has served over 80 % of his federal sentence and has less

than two years in confinement remaining. Defendant is also considered at low risk for

recidivism. (ECF No. 39, Ex. 20.) This period of confinement, along with Defendant's

prior term of confinement for a related state sentence, serves the purpose of deterring

Defendant from committing further criminal conduct. Moreover, Defendant has not

received a single infraction during his time incarcerated. (ECF No.42 at 2.) Defendant

participated in numerous continuing education classes and programs, including the "Sex

Awareness Program." (Id; ECF No.40, Ex. 11.) In addition. Defendant mentored

younger inmates and designed and implemented prison ministry programs. (ECF No.40,

at 22.) The Government concedes that "the risk the [D]efendant poses to society appears

to be limited to a prurient sexual interest in children." (ECF No.42 at 6.) Thus, having
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Defendant remain in custody while living in fear of contracting a serious illness due to

COVID-19 will not promote respect for the law nor protect the public.

       Accordingly, the Court finds that Defendant has exhausted his administrative

remedies. Furthermore, the Court holds that Defendant's serious medical conditions are a

sufficiently extraordinary and compelling reason to modify Defendant's sentence. The

Court further finds that Defendant's release will not contravene the sentencing factors

under § 3553(a). Thus, Defendant's Motion for Compassionate Release(ECF No. 39)

will be granted and the remainder of Defendant's period ofconfinement will be served on

home confinement.


       An appropriate Order will accompany this Memorandum Opinion.


                                                 Henry E. Hudson
                                                 Senior United States District Judge
Date: Mat/.
Richmond, Virginia
